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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 TEMUJIN KENSU,                                             Case No. 16-cv-13505
                                                            Hon. Linda V. Parker
               Plaintiff,                                   Mag. Stephanie Dawkins Davis

 v.

 WILLIAM BORGERDING, M.D., et al.,

           Defendants.
 _________________________________________________________________/
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                                                                                  /

      PLAINTIFF’S MOTION TO EXCLUDE EXPERT TESTIMONY BY
      DEFENDANTS' PROFFERED EXPERTS PAUL J. DROUILLARD,
                 D.O. AND ARNOLD J. FELTOON, M.D.

                            ORAL ARUGMENT REQUESTED



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        NOW COMES Plaintiff, Temujin Kensu, by and through his attorneys, Keith

 Altman and EXCOLO LAW, PLLC, for his Motion to Exclude Expert Testimony

 by Defendants’ Proffered Experts Paul J. Drouillard, D.O. and Arnold J. Feltoon,

 M.D. states as follows:

    1. This action involves claims arising out of the medical treatment of Mr.

        Temujin Kensu, an individual incarcerated with the Michigan Department of

        Corrections (“MDOC”).

    2. Plaintiff is seeking damages for violations of his Eight Amendment

        Constitutional rights.

    3. Defendants proffer Paul J. Drouillard, D.O. (“Drouillard”) as an expert

        witness to provide opinion testimony regarding orthopedic care.

    4. Drouillard’s testimony does not meet the requirements of Rule 26 of the

        Federal Rules of Civil Procedure, or Rules 104 and 702 of the Federal Rules

        of Evidence, and therefore the testimony should be excluded from

        consideration of the trier of fact and from evidence.

    5. Defendants proffer Arnold J. Feltoon, M.D. (“Feltoon”) as an expert witness

        to provide opinion testimony regarding correctional medicine.

    6. Feltoon’s testimony does not meet the requirements of Rule 26 of the Federal

        Rules of Civil Procedure, or Rules 104 and 702 of the Federal Rules of




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        Evidence, and therefore the testimony should be excluded from consideration

        of the trier of fact and from evidence.

    7. Pursuant to the “gatekeeper” function and procedure set forth by Daubert v.

        Merrel Dow Pharmaceuticals, Inc., 509 U.S. 579, 113 S. Ct. 2786, 125 L. Ed.

        2d 469 (1993); and, later, Kumho Tire Company v. Carmichael, 526 U.S. 137,

        119 S. Ct. 1167, 143 L. Ed. 2d 238 (1999), and for the reasons stated in the

        attached Brief, Drouillard’s and Feltoon’s testimony and opinion should be

        excluded from consideration of the trier of fact and from evidence.

 WHEREFORE, for the reasons stated above and in the attached brief, Plaintiff

 respectfully requests that this Honorable Court enter an Order excluding from

 evidence any opinion testimony from Defendants’ proffered experts, Paul J.

 Drouillard, D.O., and Arnold J. Feltoon, M.D.

                                                    Respectfully Submitted,

 Dated: December 6, 2018                            Excolo Law, PLLC

                                                    /s/ Keith Altman
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 TEMUJIN KENSU,                                             Case No. 16-cv-13505
                                                            Hon. Linda V. Parker
               Plaintiff,                                   Mag. Stephanie Dawkins Davis

 v.

 WILLIAM BORGERDING, M.D., et al.,

           Defendants.
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       BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO EXCLUDE
      EXPERT TESTIMONY BY DEFENDANTS' PROFFERED EXPERTS
       PAUL J. DROUILLARD, D.O. AND ARNOLD J. FELTOON, M.D.

                            ORAL ARUGMENT REQUESTED



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                           LOCAL RULE CERTIFICATION

        The undersigned counsel certifies that pursuant to E.D. Mich. L.R. 7.1(a),

 Plaintiff has contacted the Defendants seeking their concurrence to the relief sought

 in the instant motion, however, Defendants declined any such concurrence.

        The undersigned counsel further certifies that this document complies with

 E.D. Mich. LR 5.1(a), including: double-spaced (except for quoted materials and

 footnotes); at least one-inch margins on the top, sides, and bottom; consecutive page

 numbering; and type size of all text and footnotes that is no smaller than 10-1/2

 characters per inch (for non-proportional fonts) or 14 point (for proportional fonts).

 The undersigned further certifies that the brief is the appropriate length since it does

 not exceed 25 pages. E.D. Mich. LR 7.1(d)(3).



 Dated: December 6, 2018                             Respectfully Submitted,

                                                    /s/ Keith Altman
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                CONCISE STATEMENT OF ISSUES PRESENTED

   I.   Is the opinion testimony of Corizon’s expert Paul J. Drouillard, D.O.
        admissible under Fed. R. Civ. P. 26?
        Plaintiff’s Answer: No.

  II.   Is the opinion testimony of Corizon’s expert Arnold J. Feltoon, M.D.
        admissible under Fed. R. Civ. P. 26?
        Plaintiff’s Answer: No.

 III.   Is the opinion testimony of Corizon’s expert Paul J. Drouillard, D.O.
        admissible under Fed. R. Evid. 702?
        Plaintiff’s Answer: No.

 IV.    Is the opinion testimony of Corizon’s expert Arnold J. Feltoon, M.D.
        admissible under Fed. R. Evid. 702?
        Plaintiff’s Answer: No.



                  CONTROLLING/APPROPRIATE AUTHORITY

 Daubert v. Merrel Dow Pharmaceuticals, Inc., 509 U.S. 579, 113 S. Ct. 2786, 125
  L. Ed. 2d 469 (1993)

 Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244 (6th Cir. 2001)


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                                      BACKGROUND

        For the purposes of this motion, Plaintiff incorporates his “Statement of Facts”

 provided in his Response in Opposition to Defendants’ Motion for Summary

 Judgment.

            DEFENDANTS’ EXPERT DISCLOSURES AND REPORT

        In support of their claims, Defendants’ have proffered the expert testimony of

 Paul J. Drouillard, D.O. and Arnold Feltoon, M.D. Defendants submitted

 Drouillard’s and Feltoon’s expert report to the Court and Plaintiff for the first time

 on October 29, 2018 in support of their combined motion for summary judgment.

 The expert reports as provided by Corizon’s motion do not meet the disclosure

 requirements of Fed. R. Civ. P. 26 nor do they meet the rigorous scientific standards

 required under Fed. R. Evid. 702 and are therefore inadmissible. To the extent that

 these opinions are a necessary component of Corizon’s motion for summary

 judgment, that motion should be denied. This is addressed in Plaintiff’s Opposition

 to Defendants’ motion for summary judgment.

        Paul J. Drouillard, D.O. is Defendants’ retained expert in “orthopedic

 medicine.” He asserts in his report he does “not believe [Plaintiff] requires any other

 orthopedic care” than what he has already been given by Defendants. He states that

 he does “not believe [Plaintiff] requires the multitude of treatments he has

 requested.” He states that several times that there is “no scientific evidence this is of


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 any benefit” in response to Plaintiff’s requests for specific treatment. He also states

 that he “reviewed a letter authored by [Defendant] Dr. Lacy” and found “his thought

 process to be well reasoned and appropriate.” Finally, he recommends that Plaintiff

 refrain from exercising.

        Arnold Feltoon, M.D. is Defendants’ retained expert in “correctional

 medicine.” He asserts that Plaintiff’s “chronic care has been in accordance with

 standard and accepted medical practice.” In regard to Plaintiff’s knee injury he

 writes in his “Statement of Opinions” that “[t]he complete report of the MRI was

 reviewed by Dr. Lacy as well as Dr. Husain the physician in the facility. Based on

 that report it was determined that the knee sleeve ordered by [Plainitff] was not

 indicated nor considered appropriate for his underlying condition.” He states that

 “[t]he medical care provided to [Plaintiff] has been without any evidence of bias or

 unsafe medical practices, nor is there any evidence of a concerted effort to withhold

 accepted medical care when indicated.” Finally, he concludes that the “Corizon

 medical staff at all times practices good medical care in accordance with accepted

 and well-established policies and procedures for the provision of medical care to

 inmates in jails.”

        Plaintiff submits, and more fully described herein, that these conclusions are

 not based on sufficient facts and data, and they are not the produce of reliable

 methodology and principles. Further, the expert reports are devoid of several


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 mandatory requirements. As such, they are not admissible under Fed. R. Civ. P. 26

 or Fed. R. Evid. 702 and should be stricken.

                                STANDARD OF REVIEW

        Fed. R. Civ. P. 26 governs the contents of the disclosures of expert reports.

 Rule 26(a)(2)(B) provides that an expert report must contain the following:

        (i) a complete statement of all opinions the witness will express and the basis
        and reasons for them;
        (ii) the facts or data considered by the witness in forming them;
        (iii) any exhibits that will be used to summarize or support them;
        (iv) the witness’s qualifications, including a list of all publications authored
        in the previous 10 years;
        (v) a list of all other cases in which, during the previous 4 years, the witness
        testified as an expert at trial or by deposition; and
        (vi) a statement of the compensation to be paid for the study and testimony
        in the case.
        Fed. R. Evid. 702 and 104 govern the admission of expert witness testimony.

 In Daubert v. Merrel Dow Pharmaceuticals, Inc., 509 U.S. 579, 113 S. Ct. 2786,

 125 L. Ed. 2d 469 (1993); and, later, Kumho Tire Company v. Carmichael, 526 U.S.

 137, 119 S. Ct. 1167, 143 L. Ed. 2d 238 (1999), the Supreme Court has established

 what has come to be called the trial court’s “gatekeeper” obligation. A trial judge

 considering a proffer of expert testimony must first consider whether the expert is

 qualified by knowledge, skill, experience, training, or education. The trial court then

 turns to an examination of the proffered opinion testimony to determine if:


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            A. The testimony is based upon sufficient facts or data;
            B. The testimony is the product of reliable principles and methods,
               and;
            C. The witness has applied the principals and methods reliably to
               the facts of the case, whether the evidence is relevant and “fits”
               the case.
                      (Fed. R. Evid. 702).

        The inquiry is to address methodology and fit and not the conclusions

 generated. However, it has been noted that “conclusions and methodology are not

 entirely distinct from one another.” Gen. Elec. Co. Joiner, 522 U.S. 136, 139 L. Ed.

 2d 508, 118 S. Ct. 512 (1997).

        A district court is not required to admit expert testimony “that is connected to

 existing data only by the ipse dixit of the expert. A court may conclude that there is

 simply too great an analytical gap between the data and the opinion proffered.”

 Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244, 254 (6th Cir. 2001)

        Whether holding an evidentiary hearing regarding a Daubert challenge to

 proffered expert testimony is necessary in each case is within the discretion of the

 trial court. Nelson. The district court under the gatekeeper function, in lieu of an

 evidentiary hearing, must ensure an adequate record, with specific factual findings

 on the record, and provide the parties an opportunity to argue the admissibility of

 the disputed testimony. Greenwell v. Boatwright, 184 F.3d 492 (6th Cir. 1999).

        Thus, a trial court must state a basis for a determination that reliable

 conclusions which will assist the trier of fact are sufficiently proffered. “The trial


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 court's gate-keeping function requires more than simply ‘taking the expert's word

 for it.’” Lake Michigan Contractors v. The Manitowoc Co., 225 F. Supp. 2d 791,

 798 (W.D. Mich. 2002).

                                        ARGUMENT

   I.   THE TESTIMONY OF DEFENDANTS’ EXPERTS PAUL J.
        DROUILLARD, D.O. AND ARNOLD FELTOON, M.D. SHOULD BE
        EXCLUDED AS IT IS INADMISSIBLE PURSUANT TO FED. R. CIV.
        P. 26.


        The opinion testimony of Defendants’ experts Paul J. Drouillard, D.O. and

 Arnold Feltoon, M.D. should be inadmissible under Rule 26 of Federal Rules of

 Civil Procedure, which provides an expert disclosure “must be accompanied by a

 written report” that must contain:

        (i) a complete statement of all opinions the witness will express and the basis
        and reasons for them;
        (ii) the facts or data considered by the witness in forming them;
        (iii) any exhibits that will be used to summarize or support them;
        (iv) the witness’s qualifications, including a list of all publications authored
        in the previous 10 years;
        (v) a list of all other cases in which, during the previous 4 years, the witness
        testified as an expert at trial or by deposition; and
        (vi) a statement of the compensation to be paid for the study and testimony in
        the case.
 Fed. R. Civ. P. 26(a)(2)(B)(i-vi).




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        The Sixth Circuit and Federal Rules “require[] absolute compliance with Rule

 26(a).” Roberts v. Galen of Va., Inc., 325 F.3d 776, 782 (6th Cir. 2003); See also

 R.C. Olmstead, Inc., v. CU Interface, LLC, 606 F.3d 262, 271 (6th Cir. 2010)

 (affirmed district court decision to bar report that did not meet requirements of Rule

 26(a)).

    A. The Expert Reports Were Not Properly Disclosed.

        Rule 26 of the Federal Rules of Civil Procedure provides, “[i]n addition to the

 disclosures required by Rule 26(a)(1), a party must disclose to the other parties the

 identity of any witness it may use at trial to present evidence under Federal Rule of

 Evidence 702, 703, or 705.” (a)(2)(A). In addition, a written report is required at the

 time of disclosure “[u]nless otherwise stipulated or ordered by the court.” Id. at (B)

 (emphasis added).

        Defendants did not provide the written reports of their expert witnesses to

 Plaintiff until the filing their Motion for Summary Judgment, ECF #140, where they

 attached the reports as exhibits ECF #140-8 and ECF #140-9. On May 1, 2018,

 Plaintiff’s counsel received Defendant’s expert disclosures by mail. (See Exhibit 1).

 In the disclosures, Defendants listed Arnold J. Feltoon, M.D. and Paul J. Drouillard,

 D.O. as retained experts. While the disclosures state that the Expert Report was

 attached, no reports were produced by Defendants to Plaintiff until the filing of their

 Motion for Summary Judgment. Plaintiff is prejudiced because discovery was


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 completed in February of 2018 and Defendant’s Expert Disclosures (including a

 written report per Fed. R. Civ. P. 26(a)(2)(B)) were due May 1, 2018. (See ECF

 #91). Thus, Plaintiff respectfully request this Honorable Court exclude the testimony

 of both Paul J. Drouillard, D.O. and Arnold Feltoon, M.D.

    B. The Expert Reports Do Not Contain Required Information.
        Defendants’ expert reports are missing the majority of the information

 required by Fed. R. Civ. P. 26(a)(2)(B)(i-vi).

        The report of Paul J. Drouillard, ECF #140-8, does not contain the

 requirements of Rule 26(a)(2)(B)(iv) “the witness’s qualifications, including a list

 of all publications authored in the previous 10 years.” The report contains no

 reference to any qualifications or publications whatsoever. Apart from the letterhead

 on which the report is typed, there is no indication that Mr. Drouillard is qualified to

 make any statements on orthopedic medicine. Next, the report does not contain “(v)

 a list of all other cases in which, during the previous four years, the witness testified

 as an expert as trial or by deposition.” Nor does the report contain “(vi) a statement

 of the compensation to be paid for the study and testimony in the case.”

        Similar to the report described above, the report of Arnold Feltoon, ECF, 140-

 9, does not contain the required information set forth in Fed. R. Civ. P.

 26(a)(2)(B)(iv-vi). The report does not contain “the witness’s qualifications,” “a list




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 of all other cases” in which the expert testified, or “a statement of the compensation

 to be paid.”

        Thus, because the proffered reports do not meet the absolute requirements of

 Fed. R. Civ. P. 26(a), the report should be excluded from evidence.

  II.   THE TESTIMONY OF DEFENDANTS’ EXPERTS PAUL J.
        DROUILLARD, D.O. AND ARNOLD FELTOON, M.D. SHOULD BE
        EXCLUDED AS IT IS INADMISSIBLE PURSUANT TO FED. R. EVID.
        702.

        The opinion testimony of Defendants’ experts Paul F. Drouillard, D.O. and

 Arnold Feltoon, M.D. regarding orthopedic and corrections medicine should be

 inadmissible under Rule 702 of the Federal Rules of Evidence, which provides:

        If scientific, technical, or other specialized knowledge will assist the trier of
        fact to understand the evidence or to determine a fact in issue, a witness
        qualified as an expert by knowledge, skill, experience, training, or education,
        may testify thereto in the form of an opinion or otherwise, if (1) the testimony
        is based upon sufficient facts or data, (2) the testimony is the product of
        reliable principles and methods, and (3) the witness has applied the principles
        and methods reliably to the facts of the case.

        Rule 702 was amended in response to the Supreme Court decision in Daubert

 v. Merrel Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). In Daubert, the Supreme

 Court held that pursuant to Fed. R. Evid. 702 and Fed. R. Evid. 104(a), a trial judge

 must determine at the outset whether the reasoning and methodology used by an

 expert is scientifically valid and whether the reasoning or methodology properly can

 be applied to the facts in issue.



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        In Kumho Tire Company v. Carmichael, 526 U.S. 137 (1999), the Supreme

 Court further addressed the trial court's responsibilities under Fed. R. Evid. 702,

 holding that the trial court's “gatekeeping” obligation extends to all expert

 testimony, not simply “scientific” testimony. The Court also held that the Daubert

 list of factors to be considered in determining admissibility is “flexible,” and that the

 trial court should consider the Daubert factors where they are “reasonable measures

 of the reliability of expert testimony.” Id. at 152.

        The party seeking to have expert testimony admitted bears the burden of

 showing “that the expert's findings are based on sound science”; this requires “some

 objective, independent validation of the expert's methodology.” Smelser v. Norfolk

 Southern Railway Co., 105 F.3d 299, 303 (6th Cir. 1997), quoting Daubert v. Merrell

 Dow Pharmaceuticals, Inc. (On Remand),43 F.3d 1311, 1316 (9th Cir. 1995), cert.

 denied, 516 U.S. 869 (1995). The proponent of the testimony must establish its

 admissibility by a preponderance of proof. See Daubert, 509 U.S. at 592 n.10. The

 Court is not required to admit expert testimony “that is connected to existing data

 only by the ipse dixit of the expert” and “may conclude that there is simply too great

 an analytical gap between the data and the opinion proffered.” Nelson v. Tennesee

 Gas Pipeline Co., 243 F.3d 244, 254 (6th Cir. 2001).

        The Sixth Circuit has repeatedly affirmed the exclusion of expert testimony

 on grounds of inadmissibility under Fed. R. Evid. 702. See Smelser, supra (expert


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 testimony on seat belt defect should have been excluded where Plaintiff failed to

 establish that seat belt tests were based on scientifically valid principles, or were

 generally accepted methods for testing seat belts); Nelson, supra (affirming

 exclusion of expert testimony that PCBs caused visual and neurological impairment

 where expert's methodology was flawed); Pride v. BIC Corp., 218 F.3d 566, 578 (6th

 Cir. 2000) (excluding expert testimony that explosion and burns were caused by

 defective lighter where the methodologies were not reliable and experts failed to

 conduct replicable laboratory experiments).

    A. Neither Drouillard Nor Feltoon are Qualified to Offer Opinion
       Testimony Regarding the Treatment of Plaintiff’s Medical Needs.

        Pursuant to Fed. R. Evid. 702, a witness may testify only if he or she is

 qualified as an expert by “knowledge, skill, experience, training, or education...”

 While a witness may be generally qualified to offer testimony in a certain field, the

 analysis pursuant to a Daubert inquiry as to qualifications must be specific. “The

 issue with regard to expert testimony is not the qualifications of a witness in the

 abstract, but whether those qualifications provide a foundation for a witness to

 answer a specific question.” Martin v. Indiana Michigan Power Co., 292 F. Supp.

 2d. 947, 958 (W.D. Mich. 2002), citing Berry v. City of Detroit, 25 F.3d. 1342, 1351

 (6th Cir. 1994) (concluding that expert had no more experience than did the jury in

 determining the effect of disciplinary action on police officers' future conduct).



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        The Court in Daubert held that, when faced with a proffer of expert scientific

 testimony, the trial judge is assigned with “the task of ensuring that an expert’s

 testimony both rests on a reliable foundation and is relevant to the task at hand.”

 Daubert, 509 U.S. at 597. Referring to Fed. R. Evid. 702, the Supreme Court stated

 in Daubert that “[n]othing in the text of this Rule establishes ‘general acceptance’

 as an absolute prerequisite to admissibility.” Daubert, 509 U.S. at 588 (emphasis

 added). Rather, the expert's testimony must be the result of scientific knowledge. Id.

 at 589.

        The adjective “scientific” implies a grounding in the methods and procedures
        of science. Similarly, the word “knowledge” connotes more than subjective
        belief or unsupported speculation. The “term applies to any body of known
        facts or to any body of ideas inferred from such facts or accepted as truths on
        good grounds.” Of course, it would be unreasonable to conclude that the
        subject of scientific testimony must be “known” to a certainty; arguably, there
        are no certainties in science. “Indeed scientists do not assert that they know
        what is immutably ‘true’-they are committed to searching for new, temporary
        theories to explain, as best they can, phenomena.” “Science . . . represents a
        process for proposing and refining theoretical explanations about the world
        that are subject to further testing and refinement.” But in order to qualify as
        “scientific knowledge” an inference or assertion must be derived by the
        scientific method. Proposed testimony must be supported by appropriate
        validation- i.e., “good grounds,” based on what is known.

 Id. at 590 (internal citations omitted). Citing this passage, the Sixth Circuit has

 stated:

        By defining evidentiary reliability in terms of scientific validity,
        the Daubert Court instructed district courts that their primary function as
        “gatekeepers” is “to determine whether the principles and methodology
        underlying the testimony itself are valid” - not to second guess the validity of
        conclusions generated by otherwise valid methods, principles, and
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        reasoning. United States v. Bonds, 12 F.3d 540, 556 (6th Cir.1993). Although
        there is no single criterion for determining whether a specific scientific
        methodology is reliable, the Daubert Court identified several factors that a
        district court should consider when evaluating the scientific validity of expert
        testimony, notably: the testability of the expert's hypotheses (whether they can
        be or have been tested), whether the expert's methodology has been subjected
        to peer review, the rate of error associated with the methodology, and whether
        the methodology is generally accepted within the scientific
        community. See Daubert, 509 U.S. at 593-94, 113 S. Ct. 2786.


 Pride v. BIC Corp. 218 F.3d 566, 577 (6th Cir. 2000). Thus, as stressed by the Sixth

 Circuit, the court's role is not to second-guess the validity of conclusions, only to

 ensure that an appropriate scientific method is used. In order to determine this, the

 court is not restricted to the factors listed in Daubert, nor is any one factor

 determinative. Rather,

        The Court in Daubert identified several factors that may bear on the inquiry,
        but took care to emphasize that the inquiry is "a flexible one." [Daubert] at
        594, 509 U.S. 579, 113 S.Ct. 2786, 125 L. Ed. 2d 469. In Kumho, the Court
        reiterated that the factors mentioned in Daubert were neither definitive, nor
        exhaustive, and may or may not be pertinent to the assessment in any
        particular case. Kumho, 526 U.S. at 141, 119 S.Ct. 1167. Noting that
        the Daubert factors will often be appropriate in determining reliability, the
        Court in Kumho found that the trial court must consider whether the factors
        are reasonable measures of reliability in a given case. Id. at 152, 119 S.Ct.
        1167.

 Nelson, 243 F.3d at 251.

        Here, Defendants’ have provided no evidence whatsoever of the “knowledge,

 skill, experience, training or education” that qualifies these individuals to testify as

 experts under Fed. R. Evid. 702. Other than the letterhead upon which the expert


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 reports are submitted and the initials after the expert’s names, Defendants have not

 provided any evidence that the proffered experts are in fact experts or that they are

 qualified to testify on anything.

          i.   Drouillard’s Qualifications

        Drouillard seeks to testify that “[b]ased on the information available to [him],

 [he] does not believe [Kensu] requires the multitude of treatments he has requested.”

 (ECF #140-8, Page ID #3488). This opinion is based on “the medical records in this

 case, including the plaintiff’s second amended complaint, deposition transcripts of

 plaintiff, deposition transcripts of Lia Gulick, medical records from the Michigan

 Department of Corrections, an order granting Corizon’s motion for summary

 judgment 2013 case,1 emails produced by Corizon and Michigan Department of

 Corrections.” (ECF #140-8, Page ID #3487). However, Drouillard’s report does not

 meet the admissibility requirements mandatory for admittance pursuant to Fed. R.

 Evid. 702.      Here, Drouillard’s report has failed to demonstrate any specific

 knowledge of the treatment of orthopedic injuries. He merely states that some of

 Plaintiff’s requests are “controversial and without clear clinical evidence of proven

 benefit” or that it could “be of some benefit” or it “is not scientifically proven to be

 of any benefit.” (ECF #140-8, Page ID #3487). He provides no academic or medical


 1
  Plaintiff posits that medical information about Plaintiff’s current medical needs
 cannot realistically be gained from the legal conclusions of a court of law dated
 before litigation on this issue began.
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 literature or studies whatsoever to corroborate his opinion that Plaintiff does not need

 the requested treatment and the report has failed to provide any support or

 explanation outlining the basis for establishing his conclusions. Nor has he

 personally evaluated Plaintiff’s medical needs. Further, without a resume or list of

 relevant works or publications, Defendants have provided no evidence whatsoever

 that their proffered expert is qualified to make determinations on Plaintiff’s serious

 medical needs.

           ii.   Feltoon’s Qualifications

          Feltoon seeks to testify that “[t]he Corizon medical staff at all times practices

 good medical care in accordance with accepted and well-established policies and

 procedures for the provision of medical care to inmates in jails.” (ECF #140-9, Page

 ID #3496). This opinion is based MDOC Medical Records for Kensu from March

 2016-September 2016, the depositions of Lia Gulick and Plaintiff, Emails of Dr.

 Jeffrey Bomber, Dr. Robert Lacy, Marianna McKissick, MDOC, Plaintiff’s second

 amended complaint, Order granting Corizon’s motion for summary judgment in a

 2015 case.2 (ECF #140-9, Page ID #3492). However, Feltoon’s report does not meet

 the admissibility requirements mandatory for admittance pursuant to Fed. R. Evid.

 702. Here, Feltoon’s report has failed to demonstrate any specific knowledge of the

 treatment of orthopedic injuries, a main issue according to Defendants’ expert,


 2
     See n. 1, supra.
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 Drouillard. (ECF #140-8, Page ID #3487). At no point in Feltoon’s report does he

 describe a “standard of care.” Yet he states that “[t]he Corizon medical staff at all

 times practices good medical care in accordance with accepted and well-established

 policies and procedures for the provision of medical care to inmates in jails.” (ECF

 #140-9, Page ID #3496). At most he states “[t]his chronic care has been in

 accordance with standard an accepted medical practice.” (Id. at Page ID #3496). He

 provides no academic or medical literature or studies whatsoever to corroborate his

 opinion that Defendants have provided proper medical treatment. Nor has he

 personally evaluated Plaintiff’s medical needs. Further, without a resume or CV,

 Defendants have provided no evidence whatsoever that their proffered expert is

 qualified to make determinations on Plaintiff’s serious medical needs.

        Feltoon’s report is similarly deficient in that it fails to demonstrate any

 knowledge of the treatment of orthapedic medical needs and is lacking any

 information showing that Feltoon has ever treated a patient with orthopedic issues,

 either throughout his experiences in correctional medicine or his career entirely.

 While Feltoon may very well have the experience, qualifications, and training of an

 expert in correctional medicine, the record is entirely devoid any factors bearing

 reasonable reliability that Feltoon has the knowledge, qualifications, and training to

 render an opinion on the treatment of an individual with orthopedic medical needs.




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        Defendants’ proffered expert have failed to describe a standard of care, have

 never evaluated Plaintiff’s medical needs personally, and have provided no evidence

 of any qualifications or reliable data to enable the proffered experts to make any

 conclusions whatsoever. The record is thus devoid of any explanation or proof that

 either of the opinions in the reports are the products of reliable principles and

 methods regarding the treatment of medical needs and is similarly deficient

 regarding the information outlining the application of those principals and methods.

 As such, the only “existing data” available is “the ipse dixit of the expert,” and this

 Court should conclude “that there is simply too great an analytical gap between the

 data and the opinion proffered.” Nelson, 243 F.3d at 254. Thus, where neither expert

 reports provides foundation for the qualifications of the expert or his opinions, this

 court should exclude both Defendants’ proffered expert reports from evidence.

    B. Neither Drouillard’s Nor Feltoon’s Testimony is Based on Sufficient
       Facts or Data.

        Fed. R. Evid. 702 provides that, in order to be admissible, an expert's

 testimony must be “based upon sufficient facts or data.” Moreover, under Fed. R.

 Evid. 703, courts have held that if the “underlying data are so lacking in probative

 force and reliability that no reasonable expert could base an opinion on them, an

 opinion which rests entirely upon them must be excluded.” Ellipsis, Inc. v. The Color

 Works, Inc., 428 F.Supp. 2d 752, 760 (W.D. Tenn. 2006) quoting Mohney v. USA

 Hockey, Inc., 300 F.Supp.2d 556 (N.D. Ohio 2004).
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        Several courts have held that, where an expert relies on “speculation” or data

 that are flawed or unreliable, that expert's testimony is not admissible. See Ellipsis,

 supra (economic expert's testimony is inadmissible where the expert relied

 exclusively on data provided by Plaintiff, failed to verify website information

 regarding possible number of consumers for product, provided no sufficient basis

 for estimate regarding number of possible consumers, predicted growth in sales with

 no basis for assumption, and failed to analyze other facts that would affect the

 projection); Coffey v. Dowley Mfg., Inc., 187 F. Supp. 2d 958, 979 (M.D. Tenn.

 2002) aff'd Coffey v. Dowley Mfg., Inc., 89 Fed. Appx. 927 (6th Cir. 2003) (expert's

 testimony held inadmissible where he relied on speculation, used inaccurate data,

 and failed to confirm his estimates).

        Here, Defendants did not provide the proffered experts with all relevant

 information available in this case. Despite the fact that deposition testimony was

 available for Defendant Bomber, only some of his “emails” were produced to Dr.

 Feltoon and none were given to Dr. Drouillard. (ECF #140-8, Page ID No. 3487);

 (ECF #140-9, Page ID No. 3492). Additionally, Plaintiff has deposed at least two

 prison health care employees who had day to day knowledge of Plaintiff’s

 conditions, Health Unit Manager Heather Cooper and Physician’s Assistant

 Marianne McKissick. Neither transcript was supplied to the experts in making their

 opinions. In fact, only emails from Marianne McKissick, not her sworn testimony,


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 were produced. (ECF #140-8, Page ID No. 3487); (ECF #140-9, Page ID No. 3492).

 Plaintiff is unaware of what “emails” were produced and asks the court to find the

 proffered expert reports were not based on reliable facts and data and to exclude

 them from evidence.

        iii.   Drouillard’s Testimony

        In this case, Drouillard provides little more than a cursory overview of the

 facts presented to him by the party on whose behalf he has been retained and a terse

 description of his conclusions. Drouillard has relied almost completely and

 exclusively on data and information provided by Defendants’ counsel at their

 request, without scrutiny or verification of the data or information, or even

 independent verification of the accuracy of the data. Such inadequate data analysis

 should be excluded.

        In a letter less than two pages long written to defense counsel, Drouillard

 opines that Plaintiff does not require any other orthopedic care and he does not

 require the requested treatments. (ECF # 140-8, Page ID. No. 3488). However, this

 assumption is flawed in that this opinion is premised solely upon a review of the

 medical records, depositions transcripts of only 1 of several defendants, Plaintiff’s

 second amended complaint, an order granting Corizon’s motion for summary

 judgment, and emails “produced by Corizon and” MDOC. (Id.) These conclusions,

 from an individual who has evidenced no prior background, expertise, or

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 demonstrated experience in treating individuals with orthopedic medical needs, do

 not encompass any independent research for the treatment of orthopedic injuries or

 knowledge of the distinct nuances and difficulty of the complexities associated with

 the treatment of injuries. Drouillard simply relies on the briefing and documentation

 provided by Defendants, amounting to nothing more than mere “speculation” See

 Ellipsis, supra. Further, he has never personally evaluated Mr. Kensu.

        As such, given that Drouillard has demonstrated at most only a general

 scientific understanding of the treatment of orthopedic injuries, has demonstrated no

 prior expertise regarding the treatment of injuries, and has not demonstrated a

 reliance on sufficient facts or data outside of that general understanding to establish

 his conclusions, Drouillard’s testimony in regard to Corizon’s treatment of Mr.

 Kensu’s serious medical needs is insufficient pursuant to Fed. R. Evid. 702. As such,

 this Court should exclude Drouillard’s testimony.

         iv.   Feltoon’s Testimony

        In this case, Feltoon’s expert report contains several pages of “background

 information” summarizing the information provided by Defendants on whose behalf

 he has been retained. Feltoon has relied almost completely and exclusively on data

 and information provided by Defendants’ counsel at their request, without scrutiny

 or verification of the data or information, or even independent verification of the

 accuracy of the data. Such inadequate data analysis should be excluded.

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        In his one page “Statement of Opinions” Feltoon concludes that the “Corizon

 medical staff at all times practiced good medical care in accordance with accepted

 and well-established policies and procedures for the provision of medical care to

 inmates in jails.” (ECF #140-9, Page ID No. 3496). However, Feltoon was not

 provided with the “policies and procedures” that direct medical care in the Michigan

 Department of Corrections and thus cannot make this generalized determination. (Id.

 at Page ID No. 3492). He has not described the “well-established policies and

 procedures” that merit his conclusion that “Corizon medical staff at all times

 practiced good medical care.” Further, not only has he has never personally

 evaluated Mr. Kensu, he only viewed Mr. Kensu’s medical records from March 2016

 to September 2016 to reach his conclusions. These conclusions, from an individual

 who has evidenced no prior background, expertise, or demonstrated experience in

 treating individuals with orthopedic medical needs, do not encompass any

 independent research for the treatment of orthopedic injuries or knowledge of the

 distinct nuances and difficulty of the complexities associated with the treatment of

 injuries. Further, he has not viewed complete records to support his statement that

 adequate care was provided “at all times.” Feltoon simply relies on the briefing and

 documentation provided by Defendants, amounting to nothing more than mere

 “speculation” See Ellipsis, supra.




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        In addition, Feltoon states in his report that the “medical care provided to

 [Plaintiff] has been without any evidence of bias or unsafe medical practices, nor is

 there any evidence of a concerted effort to withhold accepted medical care when

 indicated.” However, Feltoon was not provided with the deposition testimony of

 Defendant Dr. Jeffrey Bomber, Health Unit Manager Heather Cooper or that of

 Physician’s Assistant Marianne McKissick. Plaintiff’s second amended complaint

 specifically includes both of these individuals in the relevant facts of retaliation and

 improper denial of necessary medical care. (See ECF #83, ¶¶ 16, 18, 60, 90, 94, 115-

 117, 119-125). All of these transcripts were available to Defendants at the time the

 report was authored. However, none were viewed by Dr. Feltoon in making his

 expert report and determination that there has been no bias in the medical care

 Plaintiff has received.

        Given that Feltoon has failed to provide any underlying data sufficient to

 establish any probative force regarding the reliability of his testimony and that he

 did not view facts directly relevant to his opinions, this Court should hold that there

 “is simply too great an analytical gap between the data and the opinion proffered.”

 Nelson, supra. Feltoon’s report simply amounts to the ipse dixit of the expert, and as

 such, his testimony in regard to Corizon’s treatment of Mr. Kensu’s serious medical

 needs is insufficient pursuant to Fed. R. Evid. 702.



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    C. Neither Drouillard’s Nor Feltoon’s Testimony is the Product of Reliable
       Principles and Methodology Reliably Applied to the Facts of this Case.

        Conclusions and methodology are often intertwined with regard to expert

 testimony. G.E. v Joiner, 522 U.S. 136, 118 S. Ct. 512, 139 L. Ed. 2d 508 (1997).

 However, there may not be an analytic gap between the data or facts the expert relies

 upon and the opinion proffered. Nelson, supra.

        Nelson involved allegations of injury due to environmental exposure to PCB's.

 The Court noted that in determining the scientific validity of the expert's

 methodology, the reviewing magistrate judge focused heavily upon the expert's

 failure to account for “confounding factors” that could have caused similar

 symptoms, failure to establish a temporal relationship between exposure to PCBs

 and the injuries and failure to demonstrate that the Plaintiffs received doses of PCBs

 sufficient to make them ill. In explaining the idea of confounding factors, the Court

 cited the Reference Manual on Scientific Evidence, noting:

      “Before any inferences are drawn about causation, the possibility of other
      reasons for the association must be examined, including chance, biases such as
      selection or informational bias, and confounding causes.”

 Expert testimony that is connected to existing data only by the ipse dixit of the expert

 is not required to be admitted. Nelson at 254.

        The court must not take the witness only at his word but rather conduct an

 examination of both the sufficiency of the basis of the testimony and a specific


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 application of scientific or reliable methods to the facts to ensure the reliability of

 the testimony. Lake Michigan Contractors, Inc. v Manitowoc Company, 225 F.

 Supp. 2d. 791, 798 (W.D. Mich. 2002).

        Here, Defendants’ proffered experts have not provided any information

 whatsoever regarding “the principles and methodology” underlying their opinions.

 Pride v. BIC Corp., 218 F.3d 566, 577 (6th Cir. 2000). Defendants’ make several

 conclusory opinions and statements that are unsupported by any medical standards

 or methods of analysis. The expert reports merely recite the “facts” they were given

 by Defendants and conclude that Defendants actions were proper. Feltoon concludes

 that “Corizon medical staff at all times practiced good medical care.” (ECF #140-9,

 Page ID. No. 3496). Drouillard “do[es] not believe [Plaintiff] requires any other

 orthopedic care.” (ECF #140-8, Page ID. No. 3488). Where the expert reports don’t

 provide any principles or methodology to guide the expert opinions whatsoever,

 there is no reliable foundation for the testimony and it should be excluded from

 evidence. Neither expert report describes how either expert came to their conclusions

 or what medical principles were relied on.

        Here, the Court must not take Defendants proffered experts only at their word,

 but rather conduct an examination of both the sufficiency of the basis of the

 testimony and a specific application of scientific or reliable method to the facts to

 ensure the reliability of the testimony. Lake Michigan Contractors, Inc., at 798. As


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 both reports have failed to provide the Court with any evidence relating to the

 application of scientific or reliable methods to the facts of the case in order to

 establish how the conclusions were reached, both proffered reports are deficient

 pursuant to Fed. R. Evid. 702. Thus, where neither report is the product of reliable

 principles and methodology reliably applied to the facts of this case, the Court should

 exclude both Drouillard and Feltoon’s testimony pursuant to Fed. R. Evid. 702.

                                       CONCLUSION

        WHEREFORE, for the reasons stated above, Plaintiff respectfully requests

 that this Honorable Court exclude any opinion testimony from Defendants’ proffered

 experts, Paul J. Drouillard, D.O., and Arnold Feltoon, M.D., from evidence and from

 consideration by the trier of fact for Defendants’ motion for summary judgment.




                                                    Respectfully Submitted,

 Dated: December 6, 2018                            /S/ Keith Altman
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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of December 2018, I served all opposing
 counsel with a copy of the foregoing document, by filing same with the Clerk of
 Court using the CM/ECF system which will send notification of such filing
 electronically to all counsel of record.

                                       /s/ Keith Altman
                                         Keith Altman




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